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 3
                          UNITED STATES DISTRICT COURT
 4                       EASTERN DISTRICT OF CALIFORNIA
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 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )               1:04-cr-5169 OWW
 8                                 )
          v.                       )
 9                                 )
     DAVID JAMES BAILEY,           )
10                                 )
                    Defendant      )          ORDER DISMISSING INDICTMENT
11   ______________________________)
12
          Pursuant to the motion of the United States Attorney, the
13
     above Indictment is ordered dismissed.
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15   Dated: July 14, 2005                     /s/ OLIVER W. WANGER
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16                                            OLIVER W. WANGER
                                              United States District Judge
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